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                      U'.'JITED STATES DISTRICT COURT
                FOR THE EASTER'.'J DISTRICT OF PENNSYLVANIA


ERICA LY;'J HELLSTER]'.;
213 Elbow Lane
Landenberg, PA 19350

               V.
                                                      CIVIL ACTIO:S ]'.;0.
                                                                                         FILED
RA YMO~D H. WASHBURN
                                                                                         APR f)6 2019
3845 Rte. 16 N TRLR IL
                                                                                    8~\MAN~Clerk
Olean, ]'.;Y 14780                                                                   Y           Dep. Clerk
                                                                                                       l
               and
DEJONGE TRUCKit,.;G, I~C.
1961 Petrolia Hill Rd.
Wellsville, NY 14895



                                CIVIL ACTION - COMPLAINT

                                         THE PARTIES

       1.     Plaintiff, Erica Lyn Hellstern ("Hellstern"), is an adult individual and resident of

the Commonwealth of Pennsylvania who resides at 213 Elbow Lane, Landenberg, PA 19350.

       2.     Defendant, Raymond IL Washburn ("Washburn"), is an adult individual and

resident of the State of :Sew York who resides at 3845 Rte. 16 :'.\: TRLR IL, Olean, :SY 14780.

       3.     Defendant, Delonge Trucking, Inc. ("Delonge"), is a trucking and/transportation

business or other corporate entity incorporated in the State of :\'ew York that does business in the

Commonwealth of Pennsylvania with a principal place of business located at 1961 Petrolia Hill

Rd., Wellsville, ]'.;Y 14895.
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                                          JURISDICTION

       4.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. 1332(a)(l) and

(b) in that "the matter in controversy exceeds the sum or value of $75,000.00, exclusive of interest

and costs, and is between citizens of different states."

                                               VE'.'it:E

        5.       Venue over this action 1s appropriate m this matter pursuant to 18 U.S.C.

1391 (a)(2), in that a substantial part of the events giving rise to the claim, the subject motor vehicle

accident, occurred in the Eastern District of Pennsylvania in Lancaster County, Pennsylvania.

                                   FACTUAL ALLEGATIO~S

       6.        Plaintiff, Erica Lyn Hellstern, at all times relevant hereto, was operating 2007,

Hyundai Tiburon with Pennsylvania license plate number J:'v1V8537 that was owned by herJ

mother, Karen Hellstem.

       7.        At all times relevant hereto, Defendant, Raymond IL Washburn, was operating a

2009 TSE International Tractor Trailer with New York license plate 3 l 269PC that was owned by

defendant Delonge.

       8.       At all times relevant hereto, defendant Washburn was operating the said Tractor

Trailer with the express or implied permission of defendant, Delonge.

       9.       At all times relevant hereto, defendant Washburn was acting as an agent and/or
                                                                                                        !



employee of DeJonge.

        10.     On or about June I, 2017, at/or about 9:45 a.m., Plaintiff, Erica Lynn Helstem, waJ

operating the 2007 Tiburon eastbound in the 2200 Block of Lincoln Highway in Lancaster County,!

Pennsylvania, where she had been stopped for a red light behind two other vehicles.
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        11.      At the above time and place, defendant Washburn was operating said tractor trailer

directly behind Hellstem when he negligently, carelessly and recklessly took his eyes off of the

roadway to look at roller coasters that were on the side of the roadway.

        12.      At the same time as defendant Washburn took his eyes off the roadway, the traffic

light in front ofplaintiff Hellstem turned green, and plaintiff Hellstem attempted to move forvvard,

but defendant Washburn failed to stop in time to avoid plaintiffs vehicle and violently struck the

rear of her vehicle pushing her vehicle into the vehicles in front of her.

        13.      The aforesaid accident was caused solely by the negligence, carelessness and

recklessness of the defendants Washburn and DeJonge, and was not due to any act or failure to ac~

on the part of the Plaintiff.

                       COt;~T I - ~EGLIGENCE A~D/OR RECKLESS~ESS

        14.      Plaintiff incorporates by reference paragraphs 1-13 as if fully set forth at length.

        15.      The carelessness, negligence and recklessness of defendant, Raymond IL

Washburn, consisted of the following:


                 (a)     Operating his tractor trailer erratically;

                 (b)     Failing to have the tractor trailer under proper and adequate control;

                 (c)     Failing to pay proper attention while operating the tractor trailer
                         specifically by taking his eyes off of the roadway and failing to observe
                         the vehicles in front of him;

                 (d)     Failing to take proper precautions in operating the tractor trailer to avoid    1
                         the collision;

                 (e)     Failing to maintain an appropriate speed on a highway to avoid a collision;

                 (f)     Operating the tractor trailer in a reckless, careless, and/or negligent matte
                         without due regard for the rights and safety of Plaintiff;

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                 (g)    Operating the tractor trailer when he knew or should have known that he
                        was unfit and unable to operate the vehicle in a safe and reasonable
                        manner;

                 (h)    Operating the tractor trailer in disregard for the Rules of the Road and the '
                        Laws of the Commonwealth of Pennsylvania, including 75 Pa.C.S.
                        §336 l(relating to driving at safe speed); 75 Pa.C.S. §33 lO(A) (relating to
                        following too closely); 75 Pa.C.S. §3714 (relating to careless driving); 75
                        Pa.C.S. §3736 (relating to reckless driving) and;

                 (i)    Then and there acting in conscious disregard for the rights and safety of
                        Plaintiff;

                 (j)    Then and there remaining consciously indifferent to the rights and safety
                        of Plaintiff; and,

                 (k)    Then and there otherwise being negligent, careless and/or reckless under
                        all of the circumstances then and there existing.

        16.      As a direct result of the negligence, carelessness and/or recklessness of the

Defendant Washburn, Plaintiff hellstern, sustained injuries including but not limited to; post-

concussive syndrome with aggravation of cephaliga, vestibular dysfunction and difficulty wit~
                                                                                                '
concentration, post-traumatic cervical strain/sprain syndrome with cervical radiculopathy, post·'

traumatic lumbosacral strain/sprain syndrome with bulging disc and contusion to the left tibia

together with various other ills and injuries, the exact extent of which are unknown at this time

but which may be and probably are of a permanent nature with disabilities and loss of function.

        17.      As a direct result of the negligence and carelessness of the Defendant Washburn

Plaintiff Hellstern has in the past suffered and probably will in the future suffer great physical pai

and anguish; she has suffered a loss of the enjoyment of her usual and daily activities, and has been

in the past and may and probably will in the future be hindered from engaging in her usual and

daily duties, occupations, pleasures and activities.


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        18.      As a further direct result of the aforesaid, Plaintiff Hellstern has been or will be

obliged to receive and undergo medical attention and care and to incur various expenses, which

expenses have or may exceed the sum recoverable under 75 P.S. § 1711 of the Pennsylvania .\1otor

Vehicle Financial Responsibility Law ("Pa. MVFRL ") and/or the Delaware .\1otor Vehicle Code,

and she may be obliged to continue to expend such sums or incur such expenditures for an

indefinite time in the future.

        19.      As a further direct result of the aforesaid negligence and carelessness of the

Defendant Washburn, Plaintiff Hellstern has in the pa~t and may in the future suffer a loss o

earnings and impairment of her earning capacity and power all of which have been and will

continue to be to her great financial damage and loss, and which do or may exceed amounts tha

he may be otherwise entitled to recover under the Pa. ;VIVFRL and Delaware Motor Vehicle Code.

        20.      As a further direct result of the aforesaid negligence and carelessness of th

Defendant Washburn, Plaintiff Hellstern has and may hereafter incur other financial expenses o~

losses, which do or may exceed amounts that she may be otherwise entitled to recover under th

Pa . .\1VFRL and/or Delaware Motor Vehicle Code.

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                    ERICA LYN:'l" HELLSTERN v. DEJONGE TRUCKI;';G, J;';C.
                                  NEGLIGE;';T E;';TRt:STME;';T

       21.       The plaintiff incorporates paragraphs 1 through 20 as if fully set forth herein.

        22.      At all times material hereto, Defendant Dejonge Trucking, Inc. ("Dejonge") was

the owner of the 2009 TSE International Tractor Trailer with ~ew York license plate 31269PC, (

and did entrust the operation, possession, and control of the aforesaid tractor trailer to Defendant

Washburn who was operating said tractor trailer at the time of this accident.


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          23.      At all   times    material hereto,     Defendant Washburn was operating the

aforementioned 2009 TSE International Tractor Trailer with the express and implied knowledge,.

consent, and permission of Defendant Delonge.

          24.      Defendant Delonge negligently and/or recklessly entrusted the possess10n,

operation and use of the aforesaid tractor trailer to Defendant Washburn at a time when it knew,1

or should have known, that Defendant Washburn would operate and control the tractor traile in a

manner creating an unreasonable risk of harm based upon information including, but not limited

to, Defendant Washburn's poor driving history including traffic violations and/or accidents, and/or

his reputation for careless and reckless driving and/or his propensities as a motor vehicle operator.

          25.      Defendant Delonge is liable for the injuries of Plaintiff Hell stern that resulted fro

the negligent, careless and/or reckless entrustment of the aforesaid tractor trailer to Defendan

Washburn.

          26.      At the time of entrustment, Defendant Dejonge consciously disregarded and

ignored the obvious risks presented by entrusting the aforesaid tractor trailer to Defendant

Washburn.

          27.      At the time of entrustment, Defendant Dejonge entrusted the aforesaid tractor

trailer to Defendant Washburn with the knowledge that it was highly probable that harm would

follow.

          WHEREFORE, plaintiff demands judgment in her favor in an amount exceeding

$150,000 for damages, interest, costs of suit, attorney's fees and such other relief as the Court

deems equitable and just.




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                                JURY DE'.\t1AND

Plainti ff hereby demands a jury.

                                                        ,L, LLC



        Dated:                        By:           -
                                                        _t& __ _
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